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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF KENTUCKY
                               AT COVINGTON


ANSWERS IN GENESIS, INC., et al,              CASE NO. 2:22-cv-0080

       Plaintiffs,
                                              Judge David L. Bunning
-VS-                                          Magistrate Judge Candace J. Smith

BROTHERHOOD MUTUAL INSURANCE
SERVICES, LLC,
                                              ANSWER ON BEHALF OF
       Defendant.                             DEFENDANT BROTHERHOOD
                                              MUTUAL INSURANCE SERVICES,
                                              LLC




       Now comes Defendant, Brotherhood Mutual Insurance Services, LLC (“BMIS”)

by and through counsel, and for its Answer in response to the Complaint filed on behalf

of Plaintiffs Answers in Genesis, Inc. (“AIG”) and Crosswater Canyon, Inc.

(“Crosswater”), states as follows:

                             FIRST AFFIRMATIVE DEFENSE

   1. BMIS asserts that the section of the Complaint entitled “Introduction,” consisting

       of two full, unnumbered, narrative paragraphs is improper in form, does not

       contain factual allegations but instead consists only of legal arguments and legal

       conclusions, and therefore does not require a response from BMIS. Alternatively,

       if some response is deemed to be required, BMIS denies any allegations

       contained in the section of the Complaint entitled “Introduction”.

   2. BMIS denies for lack of knowledge the allegations contained in paragraphs 1 and

       2 of the Complaint.

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   3. BMIS denies the allegations contained in paragraph 3 of the Complaint.

   4. BMIS denies the allegations contained in paragraph 4 of the Complaint.

   5. BMIS denies the allegations contained in paragraph 5 of the Complaint.

   6. BMIS states that paragraph 6 of the Complaint does not require a response by

      BMIS, but agrees that the AIG Policy and the Crosswater Policy are and will be

      collectively referred to as the “Insurance Policies.”

   7. BMIS denies for lack of knowledge the allegations contained in paragraphs 7 and

      8 of the Complaint.

   8. Paragraph 9 of the Complaint contains a legal conclusion for which no response

      is required of BMIS.

   9. BMIS denies for lack of knowledge the allegations contained in paragraph 10 of

      the Complaint.

   10. BMIS states that paragraph 11 of the Complaint calls for a legal conclusion to

      which no response is required; alternatively, BMIS denies for lack of knowledge

      the allegations contained in paragraph 11 of the Complaint.

   11. BMIS denies for lack of knowledge the allegations contained in paragraphs 12

      through 18, inclusive.

   12. BMIS denies for lack of knowledge the allegations contained in paragraphs 19

      through 26, inclusive.

   13. BMIS admits that beginning in March, 2020, most states in the United States

      issued orders either shutting down or restricting, to various degrees, the ability of

      certain businesses to operate as they had before the pandemic. BMIS denies any

      allegations contained in paragraph 27 of the Complaint which are not specifically

      admitted herein.

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   14. BMIS denies for lack of knowledge the allegations contained in paragraph 28 of

      the Complaint.

   15. BMIS admits that the Executive Orders issued in the state of Kentucky speak for

      themselves, and denies any allegations in paragraphs 29 and 30 which are

      inconsistent with or contrary to Executive Orders referenced therein. BMIS

      denies any allegations contained in paragraphs 29 and 30 of the Complaint which

      are not specifically admitted herein.

   16. BMIS denies for lack of knowledge the allegations contained in paragraph 31

      through 34, inclusive, of the Complaint.

   17. BMIS denies the allegations contained in paragraphs 35 through 38, inclusive, of

      the Complaint.

   18. In response to paragraph 39 of the Complaint, BMIS adopts the above

      admissions, denials, averments, and affirmative defenses as if fully restated

      herein.

   19. BMIS denies the allegations contained in paragraph 40 of the Complaint.

   20. BMIS denies for lack of knowledge the allegations contained in paragraphs 41

      through 43, inclusive, of the Complaint.

   21. BMIS denies the allegations contained in paragraph 44 of the Complaint.

   22. BMIS denies it breached any contract with AIG, denies that it had any contract

      with AIG, and further denies for lack of knowledge the additional allegations

      contained in paragraph 45 of the Complaint.

   23. In response to paragraph 46 of the Complaint, BMIS adopts the above

      admissions, denials, averments, and affirmative defenses as if fully restated

      herein.

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   24. BMIS denies the allegations contained in paragraph 47 of the Complaint.

   25. BMIS denies for lack of knowledge the allegations contained in paragraphs 48

      through 50, inclusive, of the Complaint.

   26. BMIS denies the allegations contained in paragraph 51 of the Complaint.

   27. BMIS denies it breached any contract with Crosswater, denies that it had any

      contract with BMIS, and further denies for lack of knowledge the additional

      allegations contained in paragraph 52 of the Complaint.

   28. In response to paragraph 53 of the Complaint, BMIS adopts the above

      admissions, denials, averments, and affirmative defenses as if fully restated

      herein.

   29. BMIS denies for lack of knowledge the allegations contained in paragraph 54

      through 56, inclusive, of the Complaint.

   30. In response to paragraph 57 of the Complaint, BMIS adopts the above

      admissions, denials, averments, and affirmative defenses as if fully restated

      herein.

   31. BMIS denies for lack of knowledge the allegations contained in paragraph 58

      through 60, inclusive, of the Complaint.

   32. In response to paragraph 61 of the Complaint, BMIS adopts the above

      admissions, denials, averments, and affirmative defenses as if fully restated

      herein.

   33. BMIS denies the allegations contained in paragraphs 62 and 63 of the Complaint.

   34. BMIS denies for lack of knowledge the allegations contained in paragraphs 64

      and 65 of the Complaint.

   35. BMIS denies the allegations in paragraph 66 of the Complaint.

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   36. BMIS denies that it has any coverage position as it did not issue the Insurance

      Policies at issue herein, and BMIS further denies for lack of knowledge any

      additional allegations contained in paragraph 67 of the Complaint which are not

      specifically admitted herein.

   37. BMIS denies the allegations contained in paragraph 68 of the Complaint.

   38. BMIS denies it has had any interactions with either Plaintiff, denies any bad

      faith, and denies for lack of knowledge the additional allegations contained in

      paragraphs 69 of the Complaint.

   39. BMIS denies the allegations contained in paragraph 70 of the Complaint.

   40. In response to paragraph 71 of the Complaint, BMIS adopts the above

      admissions, denials, averments, and affirmative defenses as if fully restated

      herein.

   41. BMIS denies the allegations contained in paragraphs 72 and 73 of the Complaint.

   42. BMIS denies for lack of knowledge the allegations contained in paragraphs 73

      through 75, inclusive, of the Complaint.

   43. BMIS denies the allegations contained in paragraph 76 of the Complaint.

   44. BMIS denies that it has any coverage position as it did not issue the Insurance

      Policies at issue herein, and BMIS further denies for lack of knowledge any

      additional allegations contained in paragraph 77 of the Complaint which are not

      specifically admitted herein.

   45. BMIS denies the allegations contained in paragraph 78 of the Complaint.

   46. BMIS denies it has had any interactions with either Plaintiff, denies any bad

      faith, and denies for lack of knowledge the additional allegations contained in

      paragraphs 79 of the Complaint.

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   47. BMIS denies the allegations contained in paragraph 80 of the Complaint.

   48. In response to paragraph 81 of the Complaint, BMIS adopts the above

      admissions, denials, averments, and affirmative defenses as if fully restated

      herein.

   49. BMIS denies the allegations contained in paragraph 82 of the Complaint.

   50. BMIS denies any violations of the Kentucky Consumer Protection Act and further

      denies for lack of knowledge the additional allegations contained in paragraph 83

      of the Complaint.

   51. BMIS denies the allegations contained in paragraphs 84 and 85 of the Complaint.

   52. In response to paragraph 86 of the Complaint, BMIS adopts the above

      admissions, denials, averments, and affirmative defenses as if fully restated

      herein.

   53. BMIS denies the allegations contained in paragraph 87 of the Complaint.

   54. BMIS denies any violations of the Kentucky Consumer Protection Act and further

      denies for lack of knowledge the additional allegations contained in paragraph 88

      of the Complaint.

   55. BMIS denies the allegations contained in paragraphs 89 and 90 of the Complaint.

   56. In response to paragraph 91 of the Complaint, BMIS adopts the above

      admissions, denials, averments, and affirmative defenses as if fully restated

      herein.

   57. BMIS denies the allegations contained in paragraph 92 of the Complaint.

   58. BMIS denies any violations of the Kentucky Unfair Claims Settlement Practices

      Act, and further denies for lack of knowledge the additional allegations contained

      in paragraph 93 of the Complaint.

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   59. BMIS denies the allegations contained in paragraphs 94 and 95 of the Complaint.

   60. In response to paragraph 96 of the Complaint, BMIS adopts the above

      admissions, denials, averments, and affirmative defenses as if fully restated

      herein.

   61. BMIS denies the allegations contained in paragraph 97 of the Complaint.

   62. BMIS denies any violations of the Kentucky Unfair Claims Settlement Practices

      Act, and further denies for lack of knowledge the additional allegations contained

      in paragraph 98 of the Complaint.

   63. BMIS denies the allegations contained in paragraphs 99 and 100 of the

      Complaint.

                            SECOND AFFIRMATIVE DEFENSE

   64. The Complaint fails to state a claim against this Defendant upon which relief can

      be granted.

                           THIRD AFFIRMATIVE DEFENSE

   65. Defendant states that the claims of the Plaintiff as stated in the Complaint are

      barred by the applicable statute of limitations.

                          FOURTH AFFIRMATIVE DEFENSE

   66. Defendant states that this Court lacks jurisdiction over it; that there has been an

      insufficiency of process; and that there has been an insufficiency of service of

      process.

                             FIFTH AFFIRMATIVE DEFENSE

   67. Plaintiff’s claim for punitive damages is barred by the Eighth Amendment to the

      United States Constitution.

                           SIXTH AFFIRMATIVE DEFENSE

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   68. Plaintiff’s damages, if any, were caused by an intervening, superseding and/or

      unforeseeable cause for which this Defendant bears no responsibility nor

      contractual liability.

                          SEVENTH AFFIRMATIVE DEFENSE

   69. Plaintiff’s injuries and damages, if any, were caused by a third-party over whom

      this Defendant has no control.

                           EIGHTH AFFIRMATIVE DEFENSE

   70. Plaintiff has failed to mitigate its damages.

                            NINTH AFFIRMATIVE DEFENSE

   71. In the event that any of the claims alleged in Plaintiff’s Complaint have been

      separately settled, satisfied, compromised, or discharged, this answering

      Defendant is entitled to a set-off in the amount of any payment made in settling,

      satisfying, compromising, or discharging said claims.

                           TENTH AFFIRMATIVE DEFENSE

   72. Plaintiff has failed to attach a complete copy of the Policy(ies) at issue herein.

                           ELEVENTH AFFIRMATIVE DEFENSE

   73. Punitive damages have not been pled appropriately and specifically and should

      be dismissed.

                          TWELFTH AFFIRMATIVE DEFENSE

   74. As an affirmative defense, Defendant reiterates and incorporates into this Answer

      all affirmative defenses set forth in Civil Rules 12(B) and 8(C).

                         THIRTEENTH AFFIRMATIVE DEFENSE

   75. Plaintiff’s Complaint is barred by Rule 9(A) of the Federal Rules of Civil

      Procedure.

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                       FOURTEENTH AFFIRMATIVE DEFENSE

   76. Plaintiff’s Complaint is barred by the express terms, conditions, and exclusions

      contained in the Insurance Policies.

                          FIFTEENTH AFFIRMATIVE DEFENSE

   77. Plaintiff’s Complaint is barred by the doctrine of waiver, laches, and/or accord

      and satisfaction.

                          SIXTEENTH AFFIRMATIVE DEFENSE

   78. Defendant reserves the right to supplement or withdraw affirmative defenses as

      the evidence may reveal.

   WHEREFORE, Brotherhood Mutual Insurance Services, LLC, having fully

responded to the Complaint of Plaintiffs AIG and Crosswater, respectfully requests:

   (1) that this court dismiss the Complaint, with prejudice, costs to Plaintiffs;

   (2) any and all other and further relief which this Court deems just and proper.

                                          RESPECTFULLY SUBMITTED,


                                      /s/ Joseph T. Mordino
                                      ________________________________
                                      JOSEPH T. MORDINO (#89588)
                                      FAULKNER & TEPE LLP
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                                      Cincinnati, Ohio 45202
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                                             jscott@faulkner-tepe.com
                                      Attorney for Defendant Brotherhood Mutual
                                            Insurance Services, LLC
                             CERTIFICATE OF SERVICE

      I hereby certify that on this 21st day of July, 2022, the foregoing was filed

electronically via the CM/ECF filing system which will serve all counsel of record.


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                                     /s/ Joseph T. Mordino
                                     ________________________________
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                                           Insurance Services, LLC




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